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                            THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,
              Plaintiff,
       v.                                                 CIVIL ACTION NO. 2:23-cv-419

VALVE CORPORATION,
GEARBOX SOFTWARE, L.L.C.,                                 JURY TRIAL DEMANDED

              Defendants.



                                              ORDER

       The Court, having considered the Unopposed Motion for Extension of Time to Respond to

Defendant Valve Corporation’s Motion to Dismiss,

       GRANTS the Motion.

       Accordingly, it is hereby ORDERED that the deadline for the Plaintiff to submit its Response

shall be extended up to and including December 8, 2023.

       IT IS SO ORDERED.
